                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  McALLEN DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
       v.                                        §           7:18-CR-00855-S2
                                                 §
MEISY ANGELICA ZAMORA                            §

              DEFENDANT’S RENEWED MOTION TO REVOKE DETENTION ORDER


TO THE HONORABLE JUDGE OF SAID COURT:

       COMES   NOW,   MEISY ANGELICA ZAMORA, Defendant, by and through her undersigned

counsel Christopher Sully, and respectfully moves to revoke the detention order in her case.

       There are changed circumstances since Mrs. Zamora filed her first motion to revoke the

detention order and set conditions of release. First, the nature and circumstances of the offense

charged: Before the government’s position was that it would prove at trial that every single one of

the patients seen at Mrs. Zamora’s husband’s medical clinic since it opened in approximately 2000

until the time of his arrest in 2018 was fraudulently diagnosed, amounting to a fraud of

approximately $250 million. At the most recent hearing, the government conceded that it would

present evidence at trial of only 24 patients that were allegedly misdiagnosed. Based on the billing

records, it appears that those patients were seen between late 2007 and 2018; the total claims

submitted were approximately $431,562.15; and the total paid on those claims was only about

$174,830.46—a far cry from the $250 million the government had initially alleged.

       Second, the conditions available to reasonably assure Mrs. Zamora’s appearance at future

court proceedings: To address the concerns about her residence being too close to the international

border, Mrs. Zamora now has at least one more place that she could stay under home detention

that would be farther from the border.



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        Third, pre-trial delay: Mrs. Zamora has, as of the filing of this motion on June 26, 2018,

spent 332 days in custody for offenses of which she is presumed innocent, with no trial date set.

This delay is largely due to the government’s recent production of over a million pages of records

and its stated unavailability for trial on certain dates due to another trial where the defendants are

out on bond. An excessively prolonged detention may become so unreasonable in relation to the

regulatory goals of detention that it violates due process. United States v. Hare, 873 F.2d 796 (5th

Cir. 1989). With the next status hearing in this case on July 12, 2019, Mrs. Zamora will have spent

over a year and at least 381 days in custody before she even gets a trial date if conditions of release

are not set.

        To recap Mrs. Zamora’s characteristics, she has resided at the same home in Mission,

Texas, for two decades. She has strong ties to the community, including three children who are

United States citizens, all of whom live in the U.S., including her fourteen-year-old daughter that

has resided with her in Mission, Texas, her whole life. With both Mrs. Zamora and her husband

detained, that minor daughter is left without a parent to care for her. That daughter is perhaps Mrs.

Zamora’s strongest tie to the community, as Mrs. Zamora would not flee and abandon her daughter,

nor would she take her daughter from the county she has known as her home her whole life.

        Mrs. Zamora has no criminal history and no history relating to drug or alcohol abuse.

        Even though she was not required to, she attended all but one of the hearings in her

husband’s case, and was arrested on June 26, 2018, at the courthouse when she arrived to attend

her husband’s hearing, even though it had been evident since at least early 2017 that she would

likely also be arrested as part of her husband’s case. Despite no new apparent evidence against her

since her husband’s arrest in May 2018, the government chose to wait until then to arrest her,

secure in the knowledge that she would not flee, but instead would come to the courthouse where




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agents could arrest her at their convenience. If that does not demonstrate an absence of risk of non-

appearance at court, it is hard to imagine what would.

       There is no presumption in favor of detention in this case; therefore Mrs. Zamora should

be released pending trial on reasonable conditions, unless the government can prove that there is

no combination of conditions that would reasonably assure her appearance at future court

proceedings. See 18 U.S.C. § 3142(c). The government has not even alleged, and there is no

evidence to suggest, that Mrs. Zamora would be a danger to the community if released. She is

presumed innocent throughout these proceedings. 18 U.S.C. § 3142(j).

       There are several conditions and combinations of conditions that can reasonably assure her

appearance at future court proceedings. See, e.g., 18 U.S.C. § 3145(c)(1)(B)(i-ix), (xi-xii), (xiv).

Accordingly, for the reasons stated in this motion and in connection with her original motion to

revoke the detention order, Mrs. Zamora respectfully requests that she be released pending trial on

reasonable conditions.



                                                      Respectfully submitted,

                                                      s/Christopher Sully
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                             CERTIFICATE OF CONSULTATION

      Assistant U.S. Attorney Andrew Swartz is opposed to this motion.



                                                 s/Christopher Sully
                                                 CHRISTOPHER SULLY


                                CERTIFICATE OF SERVICE

      On May 28, 2019, this motion was served on Assistant U.S. Attorneys Andrew Swartz and

Kevin Lowell via ECF.

                                                 s/Christopher Sully
                                                 CHRISTOPHER SULLY




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